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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                   Chapter 11
 PURDUE PHARMA L.P., et al.,
                                                          Case No. 19-23649 (RDD)
                                   Debtors.
                                                          (Jointly Administered)


                                        MEDIATOR’S REPORT

          Pursuant to paragraph 1 of the Order Appointing the Honorable Shelley C. Chapman as

Mediator, dated May 7, 2021 [ECF No. 2820] (the “Appointment Order”), the Court appointed the

Honorable Shelley C. Chapman as mediator (the “Mediator”) to conduct a mediation (the

“Mediation”) between the Non-Consenting States, on the one hand, and the representatives of the

Covered Parties1, on the other hand, with respect to the agreement in principle reached among the

Covered Parties, the Debtors, the Creditors’ Committee, the Consenting Ad Hoc Committee, and

the MSGE Group (each as defined in the Appointment Order). The Mediator respectfully submits

this report in accordance with paragraph 14 of the Order Establishing the Terms and Conditions

of Mediation Before the Honorable Shelley C. Chapman, dated May 18, 2021 [ECF No. 2879]

(the “Mediation Order”).


                                          Statement of Mediator

          1.     Between May 7, 2021 and June 29, 2021, the Mediator conducted approximately

145 telephonic meetings with the Non-Consenting States and the Covered Parties. On June 28,



          “Covered Parties” means the Initial Covered Sackler Persons and the Additional Covered Sackler Persons
          1

(each as defined in the Amended and Restated Case Stipulation Among the Debtors, the Official Committee of
Unsecured Creditors and Certain Related Parties [ECF No. 518]).
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2021, the Mediator presented a settlement proposal to the Debtors, the Covered Parties, and the

Non-Consenting States.       The in-person Mediation was conducted on June 30, 2021 (from

approximately 8:30 a.m. until approximately 8:00 p.m.) and on July 1, 2021 (from approximately

8:30 a.m. until approximately midnight), with additional discussions between and among the

Mediator, the Covered Parties, and certain Non-Consenting States continuing through the night of

June 30th and also continuing through the date hereof. At the in-person Mediation on July 1, 2021,

the Mediator presented a revised settlement proposal to the Debtors, the Covered Parties, and the

Non-Consenting States (the “Mediator's Settlement Proposal”).

       2.      A list of the participants in the Mediation is attached hereto as Exhibit A.

       3.      All parties participated in the Mediation in good faith. The negotiations were

difficult and hard-fought, with the outcome uncertain until well into the night of July 1.

                                Summary of Mediation Outcomes

       4.      The Mediation resulted in an agreement in principle among a majority, but not all,

of the participants in the Mediation, subject to documentation and approval of this Court. The

following Non-Consenting States accepted the Mediator’s Settlement Proposal: Colorado,

Hawaii, Idaho, Illinois, Iowa, Maine, Massachusetts, Minnesota, Nevada, New Jersey, New

York, North Carolina, Pennsylvania, Virginia, and Wisconsin. The other Non-Consenting States

have not yet accepted the Mediator’s Settlement Proposal. The Covered Parties accepted the

Mediator’s Settlement Proposal, as did the Debtors.

       5.      The parties accepting the Mediator’s Settlement Proposal have reached agreement

on the following, in each case as set forth in further detail in definitive documentation:

                       (i)     Enhanced economic consideration to be provided by the Sackler

               family members in the form of $50 million in incremental cash payments,

               consisting of $25 million on or about June 30, 2022 and $25 million on or about
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                June 30, 2023, as well as acceleration of $50 million in previously agreed settlement

                payments, consisting of $25 million on or about June 30, 2024 and $25 million on

                or about June 30, 2025;

                         (ii)    A material expansion of the scope of the public document repository

                to be established under the Debtors’ proposed plan of reorganization to include tens

                of millions of documents and approximately 13 categories of attorney-client

                privileged documents (see Exhibit B attached hereto);

                         (iii)   A prohibition with regard to the Sackler family’s naming rights

                related to charitable contributions until they have fully paid all obligations owed by

                them under the terms of the contemplated settlement and exited, worldwide, all

                businesses that engage in the manufacturing or sale of opioids;

                         (iv)    Timing for disposition of NewCo following the consummation of

                the Debtors’ plan of reorganization; and

                         (v)     Plan adjustments to permit states or other non-federal

                governmental entities that do not wish to receive all or a portion of their

                Abatement Distributions from NOAT2 in accordance with the NOAT Trust

                Distribution Procedures to disclaim or transfer such rights, in whole or in part,

                subject to any consent or other rights of applicable states or local governments

                under the default allocation mechanism in the NOAT TDP or an applicable

                Statewide Abatement Agreement.




        2
          “NOAT” means the National Opioid Abatement Trust to be established under the Debtors’ proposed plan
of reorganization.
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         6.    In addition, the individual trustees of NOAT, or such other qualified party or parties

as shall be selected by the Bankruptcy Court, will, subject to receipt of necessary approvals,

become the controlling members of the Raymond and Beverly Sackler Foundation and the

Raymond and Beverly Sackler Fund for the Arts and Sciences, which shall have an aggregate value

of at least $175 million, and will be required to limit the purposes of the Foundations to purposes

consistent with philanthropic and charitable efforts to ameliorate the opioid crisis.

         7.    The Mediator remains available to assist the parties with respect to the resolution

of outstanding unresolved issues.



Dated:     New York, New York
           July 7, 2021

                                              /s/Shelley C. Chapman
                                              HONORABLE SHELLEY C. CHAPMAN
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                                                   Exhibit A
                                        Purdue Pharma Mediator’s Report
                                         List of Mediation Participants1

 State / Firm                Party
 Ad Hoc Group of Non-Consenting States
 State of California         Rob Bonta (Attorney General)
                             Michelle Burkart
 State of Colorado           Phil Weiser (Attorney General)
                             Megan Rundlet
 State of Connecticut        William Tong (Attorney General)
                             Matthew Fitzsimmons
 State of Delaware           Kathy Jennings (Attorney General)
                             Owen Lefkon
 District of Columbia        Karl A. Racine (Attorney General)
                             Wendy Weinberg
 State of Hawaii             Clare E. Connors (Attorney General)
                             Bryan Yee
 State of Idaho              Lawrence Wasden (Attorney General)
                             Brett Delange
 State of Illinois           Kwame Raoul (Attorney General)
                             Adam Braun
                             Susan Ellis
 State of Iowa               Tom Miller (Attorney General)
                             Nathan Blake
 State of Maine              Aaron Frey (Attorney General)
                             Linda Conti
 State of Maryland           Brian E. Frosh (Attorney General)
                             Brian Edmunds
 Commonwealth of             Maura Healey (Attorney General)
 Massachusetts               Gillian Feiner
 State of Minnesota          Keith Ellison (Attorney General)
                             John Keller
 State of Nevada             Aaron D. Ford (Attorney General)
                             Mark Krueger
                             Laura Tucker
 State of New                John Formella (Attorney General)
 Hampshire                   James Boffetti

         1
             Attorneys General did not attend the Mediation in person but were all available telephonically.
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 State of New Jersey     Gurbir S. Grewal (Attorney General)
                         Lara Fogel
 State of New York       Letitia James (Attorney General)
                         Jennifer Levy
 State of North          Josh Stein (Attorney General)
 Carolina                Wesley Swain Wood
                         Daniel Mosteller
 State of Oregon         Ellen F. Rosenblum (Attorney General)
                         David Hart
 Commonwealth of         Josh Shapiro (Attorney General)
 Pennsylvania            James Donahue
 State of Rhode Island Peter F. Neronha (Attorney General)
                         Neil Kelly
 State of Vermont        T.J. Donovan Jr. (Attorney General)
                         Jill Abrams
 Commonwealth of         Mark Herring (Attorney General)
 Virginia                Thomas Beshere
 State of Washington     Bob Ferguson (Attorney General)
                         Tad O'Neill
 State of Wisconsin      Josh Kaul (Attorney General)
                         R. Duane Harlow
 Pillsbury Winthrop      Andrew Troop
 Shaw Pittman LLP        Hugh McDonald
                         Andrew Alfano
 Sackler Side B
 Milbank LLP             Gerard Uzzi
                         Nicholas Prey
 Paul, Weiss, Rifkind,   Theodore Wells Jr.
 Wharton & Garrison      Michele Hirshman
 LLP
 Sackler Side A
 Debevoise & Plimpton Jeffrey Rosen
 LLP                  Mary Jo White
                         Maura Kathleen Monaghan
 Debtors
 Purdue Pharma           Marc Kesselman
 Davis Polk &            Marshall Huebner
 Wardwell LLP            Jacob Weiner
                         Max Linder
 Dechert LLP             Sheila Birnbaum
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                   Hayden Coleman
 Mediator
 N/A               Hon. Shelley C. Chapman
                   Jamie Eisen
                   Leslie Kan
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                                              Exhibit B
                                   Purdue Pharma Mediator’s Report
                                      Public Document Repository
                              Terms to be Added to Plan of Reorganization1

Public Document Repository.

                       (a)     Summary. The document disclosure program provided in this Plan
will lead to the public disclosure of the most significant documents about Purdue, the Sackler
family, and the opioid crisis, including video depositions and millions of documents that Purdue
produced in investigations and litigation over the past two decades. In addition, it will lead to the
public disclosure of millions of documents not previously available to the public, including
documents not previously produced in any investigation or litigation and certain privileged
documents from the years when Purdue developed and promoted OxyContin, as identified below.

        The document disclosure program and Public Document Repository (“PDR”) will be
conducted in a way to maximize public confidence and public access and will set a new standard
for transparency.

                       (b)    DOJ Repository Obligation. The Debtors bear sole responsibility
for complying with the DOJ document repository obligation set forth in the Debtors’ Plea
Agreement in United States v. Purdue Pharma L.P., No. 2:20-cr-01028-MCA (D.N.J.) (“DOJ
Repository Obligation”), and the DOJ Repository Obligation is not modified by this Plan.
Similarly, the Debtors’ satisfaction of the DOJ Repository Obligation shall not diminish the
additional commitment to disclosure provided by this Plan. Instead, the public shall receive the
full benefit of both, and the PDR shall contain the full set of documents that the Debtors have
agreed to host under the DOJ Repository Obligation.

                       (c)    Disclosure Oversight Board. As described further below, the
disclosure program provided in this Plan shall be overseen by a volunteer Disclosure Oversight
Board (“DOB”), consisting of two representatives from each of the AHC, NCSG, and the
Creditors’ Committee and one representative from each of the Tribes and MSGE. No current or
former director, officer, employee, or attorney of the Debtors shall serve on the DOB or oversee
the disclosure program.

                        (d)     Purdue Legal Matters. As described further below, important
material for the disclosure program is contained in documents that the Debtors preserved,
collected, logged, and produced in connection with investigations and litigation about Purdue’s
opioid business. Many non-privileged documents were produced in those matters; and many
privileged documents were identified and logged. This Section 5.12 provides for the disclosure of
many documents from the Purdue Legal Matters, which is a broad set of investigations and
litigation defined in the Plan.


        1
           Certain capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
the Fifth Amended Joint Chapter 11 Plan of Reorganization of Purdue Pharma L.P. and its Affiliated Debtors [ECF
No. 2982].
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                      (e)     Disclosure Program Budget. As described further below, the
disclosure program is designed to avoid unnecessary expense, including by employing an unpaid
volunteer oversight board and by using negotiated agreements to avoid the need for litigation. To
ensure the funding necessary for the disclosure program, Purdue, the Shareholders, the Creditors’
Committee, and the Government Consent Parties negotiated funding provisions designed to
preserve the value provided to claimants and dedicated to abatement. Initial funding shall be from
the additional Sackler payments. Timing and quantum of other funding shall be agreed upon
among the parties, this shall constitute the Disclosure Program Budget (“Disclosure Program
Budget”), which shall be spent at the direction of the DOB.

        In addition, as already provided in the Plan, Domestic Governmental Entities may elect
(but are not required) to direct portions of their distributions to the PDR under terms provided in
the Plan. Moreover, the DOB shall be permitted, but not required, to coordinate its work on this
disclosure program with the work of state Attorneys General on related disclosures in the opioid
industry, in a manner that reduces the costs and increases the benefits of this disclosure program.
Finally, to make efficient use of the knowledge and expertise of the Debtors and their
professionals, the Plan provides for significant materials to be collected by the Effective Date, as
described further below.

       For the avoidance of doubt, the PDR shall not be owned, held, administered or operated
by the DOB, the Master Disbursement Trust, or any Creditor Trust; the role of the DOB and the
Master Disbursement Trust is to develop and oversee a temporary program to set up the
appropriate PDR and achieve the goals of the disclosure program

                        (f)   Access Materials. On the Effective Date, or as soon as reasonably
practicable thereafter, the DOB shall be provided access to a set of non-privileged materials for
the purpose of accomplishing the PDR (collectively, the “Access Materials”). These Access
Materials shall include:

                              (i)     all transcripts and audio or video recordings of depositions
                                      taken in the Purdue Legal Matters, together with the exhibits
                                      to those depositions;

                              (ii)    all documents produced by the Debtors in the Purdue Legal
                                      Matters (which comprise more than 13 million documents
                                      and more than 100 million pages);

                              (iii)   the non-privileged documents from the Debtors’ Relativity
                                      database described below (which are estimated to comprise
                                      more than 20 million additional documents beyond those
                                      produced in the Purdue Legal Matters);

                              (iv)    all privilege logs regarding documents withheld by the
                                      Debtors in the Purdue Legal Matters; and

                              (v)     documents obtained during the bankruptcy by the NAS
                                      Children Ad Hoc Committee regarding clinical and pre-
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                                      clinical studies conducted by the Debtors or other companies
                                      associated with the Sackler families.

                       (g)     Debtors’ Relativity Database. In the course of the Purdue Legal
Matters, the Debtors collected a significant set of documents that are stored in a Relativity
database. This collection includes files from more than two hundred custodians who played
important roles at Purdue, including every member of the Sackler family who sat on the board or
worked at the company. It also includes non-custodial documents, such as collections from
electronic drives and paper archives. The custodial and non-custodial documents collected for the
Relativity database are from files that Purdue has preserved pursuant to broad document
preservation policies in place for over twenty years, including from an email archive containing
emails dating to the 1990s. Pursuant to the terms provided in this Section 5.12, materials from the
Relativity database will be available for the disclosure program as described above.

                      (h)     Additional Collections. On the Effective Date, or as soon as
reasonably practicable thereafter, the DOB will identify to Debtors the additional custodians whose
documents should be collected, to the extent possible, from the email archive and other preserved
files and the Debtors will load those files into the Relativity database for inclusion as Access
Materials or Sequestered Materials as applicable.

                       (i)     Sequestered Materials. On the Effective Date, or as soon as
reasonably practicable thereafter, the Debtors shall provide the Plan Administration Trust (“PAT”)
with certain Privileged documents, described below, collected by Debtors during the course of the
Purdue Legal Matters and stored in the Debtors’ Relativity database, (“Sequestered Materials”)
to be preserved for access by the DOB. The provision of the Sequestered Materials to the PAT
shall not constitute a waiver of any applicable privileges and, for clarity, no waiver of any
applicable privilege shall occur prior to the Sequestration Date described below. The Sequestered
Materials are estimated to include hundreds of thousands of documents.

                       To leverage efficiencies, the Debtors’ current document review teams with
experience reviewing Purdue’s documents for privilege will screen and review, as necessary, all
documents currently in the Relativity database for Privilege, Attorney Work Product,
confidentiality, HIPAA, and critical business information before turning over documents as Access
Materials or for sequestration. The DOB will aid the Debtors’ document review team in setting
parameters and search terms to effectuate accurate screening and review. The DOB may,
confidentially and subject to privilege, request and be provided with information, and as necessary,
an appropriate, expert-aided statistically valid sampling of the relevant documents or other
methodologies to aid in the foregoing review under an appropriate protective order and non-
waiver agreement.

                       Subject to the Sequestration Date, below, the Debtors agree to waive
attorney client and work product privilege over documents created before May 1, 2014 (“Cutoff
Date”) that fall within the following categories:

                              (i)     Marketing materials, promotional materials, and sales
                                      strategies. This will include, for example, legal advice on:
                                      marketing and promotional materials as part of the Medical,
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                                  Regulatory, Legal (“MRL”) review process, and other
                                  reviews of statements in promotional and marketing
                                  materials to ensure consistency with a product’s labeling and
                                  legal requirements; sales training materials (such as how to
                                  instruct the sales team on what they can and cannot say about
                                  the products); review of all call notes and whether statements
                                  on sales calls were appropriate; call planning; and sales
                                  bulletins. For the avoidance of doubt, “sales strategies” in
                                  this paragraph includes documents related to (1) medical
                                  liaisons, (2) continuing medical education, (3) the Evolve to
                                  Excellence program, (4) Purdue’s interactions with medical
                                  advocacy groups, and (5) legal advice regarding the
                                  performance, selection, retention, management, and
                                  compensation of personnel in sales and marketing;

                          (ii)    Materials reflecting legal advice on submissions to the FDA
                                  and compliance with FDA regulations. This will include, for
                                  example, advice on the decision to reformulate OxyContin,
                                  advice on interactions and communications with FDA, and
                                  advice on FDA requirements;

                          (iii)   Legal advice regarding distributions to the Sacklers;

                          (iv)    Legal advice regarding the organization or function of the
                                  board of directors;

                          (v)     Legal advice regarding grants, gifts, and other payments
                                  with respect to naming rights of Purdue and its shareholders;

                          (vi)    Legal advice regarding the performance, selection, retention,
                                  management, and compensation of the CEO of Purdue
                                  Pharma;

                          (vii)   Legal advice regarding Purdue’s interactions with state
                                  licensing boards and the Federation of State Medical Boards;

                          (viii) Legal advice regarding Purdue’s interactions with Key
                                 Opinion Leaders, advisory boards and treatment guidance;

                          (ix)    Legal advice regarding advocacy before the United States
                                  Congress or a state legislative branch with respect to
                                  OxyContin;

                          (x)     Employment records and files created before the Cutoff Date
                                  pertaining to employment terminations or disciplinary
                                  actions related to opioid sales and marketing, including
                                  documents created before the Cutoff Date pertaining to
                                  internal investigations of personnel related to marketing of
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                                      opioids, in all cases subject to applicable federal and state
                                      privacy and similar laws with respect to employees and with
                                      any redactions necessary to comply therewith; and

                              (xi)    To the extent provided during the time period while the
                                      Corporate Integrity Agreement was in effect, legal advice
                                      regarding compliance with the Corporate Integrity
                                      Agreement entered into between Purdue and the DOJ.

                      Subject to the Sequestration Date, below, the Debtors agree to waive
attorney client and work product privilege over the following categories of documents:

                              (xii)   Documents reflecting Law Department reviews of, and
                                      decisions regarding, health care providers and pharmacies
                                      pursuant to Purdue’s Abuse and Diversion Detection
                                      (ADD), Order Monitoring System (OMS), and Suspicious
                                      Order Monitoring (SOM) programs prior to mid-2018,
                                      which will have been or will be provided to the Department
                                      of Justice under a June 2019 non-waiver agreement; and

                              (xiii) Documents created before February 2018 reflecting legal
                                     review, analysis and advice with respect to advice received
                                     from McKinsey related to the sale and marketing of opioids;
                                     and

                              (xiv)   Documents created before June 30, 2017 reflecting legal
                                      review, analysis and advice with respect to Practice Fusion.

                       To the extent documents subject to any of these waivers was previously
logged on a privilege log in a Purdue Legal Matter, the Debtors shall provide the DOB with
amended privilege logs that indicate the entries being produced pursuant to these waivers. For
the avoidance of doubt, Privileged communications about interactions with the media with
respect to subject matters that are otherwise waived herein are included in such waivers.

                        The Governmental Consent Parties and other parties hereto acknowledge
that certain documents described in paragraphs (i) through (xiv) are subject to joint defense
agreements, common interest privileges and other rights of third parties, which the Debtors do
not have authority to waive. The Debtors will provide the DOB with privilege logs reflecting
documents subject to such third-party privileges and rights that are identified in the course of
identifying and compiling the Sequestration Materials. No documents subject to such third-party
privileges and rights shall be included in the PDR, absent appropriate resolution of such third
parties’ rights and privileges. Further, the Debtors, the Governmental Consent Parties, and the
other parties hereto acknowledge that no waiver of Privilege described herein shall be construed
as subject matter waiver.

                       Subject to these acknowledgements, the Debtors, the Governmental
Consent Parties, and the other parties hereto further agree to work together in good faith to
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ensure that all documents consistent with the foregoing Sequestration Materials categories shall
be available to the DOB for potential inclusion in the Public Document Repository.

                         To the extent that a document within the Access Materials also falls within
a category of Sequestered Materials (for example, a document that was produced in a Purdue
Legal Matter under Section 5.12(f)(ii) and is in the Debtors’ Relativity database under Section
5.12(i)(i)), the document is eligible for access and disclosure as an Access Material regardless of
the fact that it also appears in the set of data being preserved as Sequestered Materials.

                        (j)    Protection of the Privilege. For the avoidance of doubt, Debtors do
not waive and do not agree to provide as Sequestered Materials for the PDR any Privileged
documents and communications not otherwise identified in Sections 5.12(i)(i) through (xiv). Such
Privileged documents and communications not otherwise identified in Sections 5.12(i)(i) through
(xiv) shall be removed from the Relativity database and separately preserved, and shall not be
eligible for the PDR at any time. All Privileged documents removed from the Debtors’ Relativity
database, and not included in the Sequestered Materials described above, will be provided to the
PAT, separately from the Sequestered Materials. The PAT will retain these materials for the period
described in Section 5.12(v) below. For clarity, except for the Sequestered Documents identified
in Sections 5.12(i)(i) through (xiv) above, the Debtors shall not intentionally provide the Master
Distribution Trust or DOB with access to any documents or content of documents that are
Privileged. Privileged documents subject to a clawback by Debtors in the Purdue Legal Matters.
In the event that the Debtors inadvertently provide the Master Distribution Trust or DOB with
access to Privileged documents except for those documents identified in Sections 5.12(i) through
(xiv) above, that inadvertent provision does not operate as a waiver of the Privilege and, upon
discovery, the DOB and/or Master Distribution Trust must promptly take steps to return the
documents to the PAT or destroy such documents.

                        (k)     Sequestration Date. On January 1, 2025, NewCo or the Master
Disbursement Trust (“MDT”) shall deliver the Sequestered Materials to the Host Institution.
Those materials shall be made available for assessment by the DOB and disclosure in the PDR
subject to the other provisions of this Section. The Host Institution may add Sequestered Materials
to the PDR on the earlier of June 30, 2025 or the date after January 1, 2025 on which the MDT
Claims are paid in full under the Plan.

                       (l)    Responsibilities of the DOB. The DOB shall be responsible for:

                              (i)     accomplishing prompt, broad, permanent, public disclosure
                                      of millions of the Debtors’ documents via the PDR to allow
                                      the public to examine the Debtors’ role in the opioid crisis;

                              (ii)    engaging with survivors, advocates, journalists, scholars,
                                      policymakers, and others to ensure that the disclosure
                                      program serves the public;

                              (iii)   directing the use of the Disclosure Program Budget;

                              (iv)    establishing protections for Protected Information, as
                                      described below;
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                               (v)     establishing procedures for resolution of Challenges to the
                                       redaction or disclosure of information, as described below;

                               (vi)    overseeing the Host Institution’s implementation of the
                                       disclosure program;

                               (vii)   coordinating, as appropriate, the disclosure of documents
                                       from other producing parties or non-parties in opioid cases
                                       whose confidential information is included in the Access
                                       Materials including by discussing inclusion of Access
                                       Materials containing such third-party confidential
                                       information;

                               (viii) ensuring the long-term sustainability and success of the
                                      disclosure program; and

                               (ix)    retaining and overseeing staff, counsel, or such other
                                       resources as are necessary and appropriate to accomplish he
                                       DOB’s responsibilities under this Section 5.12.

                        (m)     Host Institution. The Host Institution(s) shall be selected by the
governmental entities that support the Plan. The Host Institution will be responsible for hosting
and maintaining the PDR in perpetuity, including but not limited to: maintaining control and
security over documents in the PDR; providing an accessible user interface; and providing clear
and transparent explanations of its procedures to the public. Subject to restrictions and oversight
imposed by the DOB, the Host Institution may employ appropriate resources to accomplish its
responsibilities, including but not limited to the use of permanent university employees, temporary
employees, contractors, and vendor services. Commensurate with the large responsibilities
assigned to the Host Institution, and subject to the decisions and oversight of the DOB and the
requirements of this Plan, much of the Disclosure Program Budget may be directed to the Host
Institution to fund the accomplishment of its responsibilities.

                       (n)     Prompt Disclosure. In keeping with the importance of the matter,
the DOB shall dedicate its best efforts to ensure prompt disclosure and shall seek to ensure that
the public receives substantial disclosure at least every quarter. The DOB shall prioritize prompt
disclosure of the transcripts and audio and video recordings of depositions taken in the Purdue
Legal Matters, together with the exhibits to those depositions. The Debtors will prioritize prompt
production of the documents that Debtors have agreed to host pursuant to the DOJ Repository
Obligation for immediate inclusion in the PDR for the sake of efficiency and cost savings.

                       (o)    Redaction of Protected Information. The DOB shall implement
appropriate procedures to protect the following information (“Protected Information”) by
redacting Protected Information in documents before they are disclosed to the public in the PDR
and by promptly catching and correcting errors if Protected Information is disclosed. Protected
Information is: (i) any information protected from disclosure by the Health Insurance Portability
and Accountability Act or similar state or federal statute; (ii) personal email addresses or personal
phone numbers; (iii) information subject to confidentiality rights of third parties; (iv) information
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subject to current trade secrets protection; (v) information regarding individuals that is of a purely
personal nature and does not pertain to the Debtors’ opioid business or related practices; and (vi)
information otherwise protected by law. For the avoidance of doubt, Protected Information that
should be redacted in a written document shall also be redacted in audio or video, such as
deposition recordings.

                       (p)      Limits on Redaction. There shall be no redaction of: (i) names of
the Debtors’ directors, officers, employees, agents, attorneys, or consultants or of prescribers or of
officials or employees of a government agency; (ii) email addresses at the “pharma.com” or
“purduepharma.com” domain; or (iii) trade secrets in documents dated more than 5 years before
the disclosure.

                       (q)    Inadvertent Release of Privileged or Protected Information.
Notwithstanding anything else in the Plan, the PDR shall not contain or disclose any documents
or content of documents that are Privileged, except for those documents identified in Sections
5.12(i) through (xiv) above that are eligible for the PDR after January 1, 2025, or any Protected
Information. Inadvertent disclosure of Privileged documents in the PDR does not operate as a
waiver of Privilege and, upon discovery, any Privileged documents must be promptly removed
from the Document Repository.

                        The DOB will have sole liability for reviewing, evaluating, processing, and
redacting all Protected Information before any document is placed in the PDR, but may permit any
individual or entity to review, evaluate, process, or redact Protected Information. The DOB will
establish a procedure that permits any party or member of the public to identify or challenge the
disclosure of any potentially Protected Information placed in the PDR. The DOB will cause any
document identified through this process to be immediately removed from the PDR pending
review. Any disagreements regarding whether such material is Protected Information shall be
resolved by the Special Master. The DOB will bear full legal responsibility arising out of or related
to any improper disclosure of Protected Information.

                         (r)    Special Master. Immediately after the Effective Date, or as soon as
reasonably practicable thereafter, the Bankruptcy Court shall appoint a Disclosure Oversight
Special Master (the “Special Master”). The Special Master’s qualifications shall include former
service as a judicial officer, whether as a state or federal judge. The Special Master will adjudicate
all privilege and related disputes. No current or former director, officer, employee, or attorney of
the Debtors, the Creditors’ Committee, or Governmental Consent Party shall be eligible to be
appointed as the Special Master, counsel or staff working under the Special Master, provided that
prior work for a Governmental Consent Party that was completed prior to 2015 shall not preclude
the appointment of a Special Master. The Special Master’s reasonable hourly fees and expenses
shall be paid out of the Disclosure Program Budget.

        To the extent that the DOB seeks to (a) challenge Debtors’ assertion of Privilege with
respect to any documents withheld or redacted from production in the Purdue Legal Matters, or
excluded by Debtors from the Access Materials or (b) disclose any Protected Information in the
PDR, such efforts shall be subject to review by the Special Master, who shall have final say
regarding whether (1) the Master Distribution Trust and/or DOB should be provided with such
materials, and (2) such materials shall be protected from public disclosure.
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        All challenges to documents over which Debtors assert Privilege or documents with
Protected Information in the PDR, including challenges brought by either the DOB or members
of the public, shall be brought within (i) one year of the Effective Date or (ii) within one year
from, when the document or information at issue is first withheld from the PDR by redaction or
logging, whichever of (i) or (ii) is earliest, but in no event after two years from the Effective
Date. On or shortly after the Effective Date, the Court shall appoint a law firm to defend against
challenges to whether documents or information withheld from the PDR are Privileged or
Protected Information (“Privilege Defense Counsel”). Privilege Defense Counsel shall have the
duty to represent the interests of the holder of Privilege or beneficiary of Protected Information
in responding to disputes before the Special Master.

         Any party seeking to initiate a challenge to the Privilege or Protected Information
designation of a document or information in a document or any other challenge to the inclusion
or exclusion of documents in the PDR (the “Petitioner”) must first, as a condition precedent to
any such challenge, meet and confer with Privilege Defense Counsel by serving a written
statement of the specific material being disputed and the reasons for disputing each such
material. If the meet and confer does not resolve the dispute, then the Petitioner shall submit a
brief to the Special Master arguing why each individual document at issue should not be
considered Privileged or subject to protection or should otherwise be included or excluded.
Once a challenge has been submitted, the Special Master shall set a briefing schedule, permitting
Privilege Defense Counsel no fewer 21 days to respond to the challenge, which may include in
camera submissions in response. At the discretion of the Special Master, the briefing schedule
may also include supplemental submissions, oral argument, or other procedures the Special
Master deems necessary to reach a determination. The Special Master shall then evaluate and
decide the challenge based upon existing legal precedent of federal law within the U.S. Court of
Appeals for the Second Circuit, and shall be empowered to determine whether such materials are
subject to a valid claim of Privilege or otherwise constitute Protected Information or should have
otherwise been included or excluded, but shall not be empowered to waive any Privilege ever
asserted by Debtors with respect to the Purdue Legal Matters or with respect to the Access
Materials. If the Petitioner does not prevail, then the Special Master has the discretion to shift to
the Petitioner some or all of the reasonable legal expense of Privilege Defense Counsel, whose
reasonable fees and expenses shall otherwise be paid for by the Disclosure Program Budget. If
the Special Master determines that the challenge was frivolous, harassing, needlessly increasing
costs or expenses, or otherwise brought for an improper purpose, then the Special Master shall
shift to the Petitioner some or all of the reasonable legal expense of Privilege Defense Counsel.
For avoidance of doubt, any materials determined by the Special Master to be Privileged or to
contain Protected Information shall not be included in the PDR.

       Pending resolution of a challenge asserting a document was improperly disclosed, the
Host Institution shall remove or redact each identified, challenged document.

                        (s)     Materials Produced by Shareholder Released Parties. With
respect to the Sackler family members’ documents, the document repository shall include all
documents that were produced in the bankruptcy cases and that relate to the manufacturing, sale,
or marketing of opioids in the United States, the Debtors’ alleged role or liability in connection
with the opioid crisis, or the regulatory approval of any opioid product sold in the United States
by the Debtors, but subject to appropriate exclusions for documents covered by the attorney-client
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and work product privileges and certain confidential information (including exclusions for
information and documents related to the finances, financing activities, taxes and tax filings,
investments, and third party business and advisory relationships of the Shareholder Released
Parties).

                      The Sackler family members and the Governmental Consent Parties shall
agree to the appointment of a special master to resolve disputes regarding whether certain
documents or information is required to be included in the document repository by the Sackler
family members. If such parties cannot agree on a special master, the parties shall request that
Judge Drain appoint the special master.

                       The Sackler family members shall have the right to claw back documents
that they were entitled to exclude in accordance with this provision but inadvertently produced to
the Public Document Repository, and such inadvertent production shall not operate as a waiver of
rights. The special master shall resolve any disputes between Sackler family members and the
Governmental Consent Parties concerning the exercise of clawback rights.

                       For the avoidance of doubt, “Sackler family members’ documents” refer
only to documents in the Sackler family members’ possession, custody or control. Section 5.12(s)
does not refer to documents including or involving Sackler family members that are in the Debtors’
possession, custody or control.

                        (t)     Release of Confidentiality Rights by Parties Receiving Releases.
With regard to the disclosure of information in the PDR as authorized by this Section, the
protections provided to Released Parties and Shareholder Released Parties shall be limited to the
protections provided by this Plan. To the extent that Released Parties and Shareholder Released
Parties possess rights to confidentiality beyond those provided this Plan (for example, a contractual
confidentiality provision), those rights are waived to facilitate this disclosure program in exchange
for the benefit of the releases provided to the Released Parties and Shareholder Released Parties
by the Plan.

                       (u)   DOJ Settlement Communications. Communications between the
Debtors and DOJ regarding settlement or cooperation between 2015 and the final, non-appealable
conclusion of U.S. v. Purdue Pharma L.P., Case 2:20-cr-01028-MCA (D.N.J.) shall be protected
from disclosure to the Master Distribution Trust and the DOB and shall not be included in the
PDR, nor shall any internal Debtor documents reflecting such communications or the strategy for
such communications. The Debtors shall implement this exclusion when creating the set of
Sequestered Materials.

                       (v)     Documents Produced By Certain Financial Institutions. The
disclosure program shall not include the documents produced by financial institutions pursuant to
the examination authorized by the Court at ECF No. 1143. For the avoidance of doubt, if the same
information also appears in a second source that is subject to disclosure (e.g., a deposition exhibit),
then the information in that second source is subject to disclosure.
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                      (w)    Active Vendor Contracts. The PDR shall not disclose the NewCo’s
active vendor contracts or expired contracts that would reveal the sum and substance of active
contracts. The DOB shall take appropriate steps to implement this exclusion.

                        (x)    Exculpation and Indemnification of DOB members and Host
Institution. To the maximum extent permitted by applicable law, the DOB members, whenever
appointed, and the Host Institution shall not have or incur any liability for actions taken or omitted
in his or her capacity as a DOB member, or on behalf of the DOB, except those acts found to be
arising out of his or her willful misconduct, bad faith, gross negligence or fraud, and shall be
entitled to indemnification and reimbursement for reasonable fees and expenses in defending any
and all of his or her actions or inactions in his or her capacity as a DOB member, except for any
actions or inactions found to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud. Any valid indemnification claim of any of the DOB members shall be
satisfied from the Disclosure Program Budget.

                      (y)     Reports. On each of the first five anniversaries of the Effective
Date, the DOB shall publish a public report describing the activities of the disclosure program, the
use of any funds expended, and any funds committed for future use.

                        (z)     Wind Down. In or after January 2026, the DOB shall wind itself
down. If appropriate to facilitate the long-term success of the PDR, the DOB may arrange for
another long-lived institution, such as one or more Attorneys General Offices, to interact with the
Host Institution after the DOB is wound down (e.g., by receiving reports). Upon the wind down
of the DOB, the Host Institution shall be responsible for the permanent maintenance of the PDR.
For avoidance of doubt, however, the access to the Access Materials granted to the DOB herein
shall not be transferred to any successor institution other than the Host Institution. Upon the wind
down of the DOB, the Access Materials shall, at NewCo’s election, be returned to NewCo or
destroyed or if NewCo no longer exists, the documents shall be destroyed or transferred to
Privilege Defense Counsel.

                        Within 90 days of the announcement of the dissolution of the Plan
Administration Trust, the Plan Administration Trust shall use commercially reasonable efforts to
return to Privileged materials to Privilege Defense Counsel who shall retain the materials in a
segregated client file.
